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ViolationID House StreetName    PostcodInspectionDateNOVDescription                                                             CurrentStatus         ViolationStatus   BBL
  13296003     14 THAYER STREET  10040    09/23/2019 HMC ADM CODE: ï¿½ï¿½ 27‐2017.4 ABATE THE INFESTATION CONSISTING OF ROACHES FALSE CERTIFICATION   Open              1021740224
  13117172 618 ACADEMY STREET 10034       06/10/2019 SECTION 27‐2005 ADM CODE PROPERLY REPAIR WITH SIMILAR MATERIAL THE BROKEN OFALSE CERTIFICATION   Open              1022240022
  13023438 605 WEST 177 STREET 10033      04/18/2019 SECTION 27‐2005 ADM CODE PROPERLY REPAIR WITH SIMILAR MATERIAL THE BROKEN OFALSE CERTIFICATION   Open              1021440025

            Source: https://data.cityofnewyork.us/Housing‐Development/Housing‐Maintenance‐Code‐Violations/wvxf‐dwi5/data
